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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA

                                                        Case No.      l4cr699-07(JBS)
       V.



 TALI3 TILLER


                        ORDER AMENDING CONDITIONS OF RELEASE

      THIS MATTER having come before the Court by way of Defendant

Talib Tiller’s Request               to Modify Conditions             of     Release,      and the

Court having conducted a hearing on January 14,                        2015; and the Court

noting the         following appearances:            Diana Carrig,           Assistant United

States Attorney, and Lori Koch, AFPD; and the Defendant appearing;

and   for good          cause   shown    and   for    the    reasons        set   forth on     the

record:

      IT IS ORDERED this              14th day of        January 2015          that the Order

Setting Conditions of Release dated December 23, 2014 and the Order

Amending         Conditions     of   Release    dated       January     8,     2015   is    hereby

amended as follows:

      1.     Paragraph 6 is amended to reflect that Clarence Howerton

is appointed as an additional third party custodian.                              Mr. Howerton

agrees      to    (a)   supervise       the   defendant,      (b)     use    every effort       to

assure the defendant’s appearance at all court proceedings, and (c)

notify the court immediately if the defendant violates a condition

of release or is no longer in the cus                                  custody.



                                                             Clarence Howerton
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      2.   Paragraph 7(v)   is amended, as follows,        “at least one third

party custodian shall be at the house with defendant at all times

except when Mr. Howerton is attending medical appointments and when

Mrs. Howerton Tiller is at work.”

      3.   All other conditions of        release set      forth in the Order

Setting Conditions of Release dated December 23,            2014 shall remain

in effect and are hereby incorporated herei




                                           Unit     States Magistrate Judge




      I acknowledge that I am the defendant in this case and that I

am aware of the conditions of release as amended. I promise to obey

all conditions of release including all amended conditions,                to

appear as directed, and surrender to serve any sentence imposed. I

am aware of the penalties and sanctions as set forth in the Order

of Release dated December 23,      2014




                                           Talib Tiller


cc:   United States Pretrial Office
